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14
                                 IN THE UNITED STATES DISTRICT COURT
15                                   FOR THE DISTRICT OF ARIZONA
16
     Luticia Taylor,
17   on behalf of herself and
     all others similarly
18   situated,
19
                             Plaintiff,
20                                                                        Civil No. 2:17-cv-1711
                                                                          STIPULATED MOTION
21                                                                        TO DISMISS
22   First Advantage Background Servs. Corp.,

23                           Defendant.
24
            Pursuant to Fed. R. Civ. P. 41(a)(2), the Plaintiff, Luticia Taylor, and the Defendant, First
25
     Advantage Background Services Corporation, hereby stipulate and move to dismiss this action
26
     with prejudice. The parties have settled the dispute between them. The court shall retain
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 1
     jurisdiction for the purpose of enforcement of the Settlement Agreement pursuant to Kokkonen v.
 2
     Guardian Life Ins., Co., 511 U.S. 375 (1994).
 3

 4
                                                         Respectfully submitted,
 5                                                       Luticia Taylor, Individually and on
                                                         behalf of all others similarly situated
 6

 7                                                       By:_/s/ Susan M. Rotkis
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23
                                            CERTIFICATE OF SERVICE
24
            I hereby certify that on March 19, 2018, the foregoing was filed with the Clerk, who sent
25   by Notice of Electronic Filing a true and correct copy of the foregoing to all counsel of record:
26
                    Esther Slater McDonald
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